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                                                                           United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                              December 27, 2017
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

MICHELLE CONNELY,                            §
                                             §
         Plaintiff,                          §
VS.                                          § CIVIL ACTION NO. 3:17-CV-170
                                             §
CHRISTIAN CONSULTANTS OF                     §
TEXAS, LLC, et al,                           §
                                             §
         Defendants.                         §

                                         ORDER

       Based on the Report and Recommendation of the Bankruptcy Court (Dkt. 1), it is

therefore:

       ORDERED that the reference with respect to the trial of this case is withdrawn;

and it is further

       ORDERED that all pretrial matters are referred to the Bankruptcy Court.


       SIGNED at Galveston, Texas, this 27th day of December, 2017.


                                             ___________________________________
                                             George C. Hanks Jr.
                                             United States District Judge
